               Case 19-18467                     Doc 11              Filed 07/11/19 Entered 07/11/19 10:39:56                     Desc Main
                                                                      Document     Page 1 of 27
 Fill in this information to identify the case:

 Debtor name          American Pain Society

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)         19-18467
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Fifth Third Bank                                        Checking                        4400                                 $176,970.55




            3.2.     Northwestern Mutual                                     Money Market                    4818                                        $437.40




            3.3.     Northwestern Mutual                                     Money Market                    7663                                           $0.00




            3.4.     Northwestern Mutual                                     Money Market                    3034                                           $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                  $177,407.95
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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 Debtor            American Pain Society                                                         Case number (If known) 19-18467
                   Name

 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit

 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment
                     Flat fee advance payment retainer provided to Adelman & Gettleman, Ltd. in the amount of
                     $25,000 for services rendered prior to and to be rendered in connection with chapter 7
            8.1.     bankruptcy case.                                                                                                     Unknown


                     Advance payment retainer provided to Barnes and Thournburg LLP in the amount of $10,000
                     for services rendered prior to and to be rendered in connection with chapter 7 bankruptcy
            8.2.     case.                                                                                                                Unknown


                     Advance payment provided to Association Management Center, Inc. ("AMC") in the amount of
                     $38,550.66 for services rendered prior to and to be rendered in connection with chapter 7
                     bankruptcy case. Among other things, AMC provides office facilities, management,
            8.3.     accounting, staffing, and support (including IT, email and website) services to the debtor.                          Unknown



                     Advance payment provided to Julie Eisele (editorial staff member) in the amount of $18,499.95
            8.4.     for services rendered or to be rendered in connection with publishing the Debtor's journal.                          Unknown


                     Advance payment provided to Cindy Abrams (editorial staff member) in the amount of
                     $7,755.30 for services rendered or to be rendered in connection with publishing the Debtor's
            8.5.     journal.                                                                                                             Unknown



                     Advance payment provided to Mark Jensen (editor in chief) in the amount of $13,125.00 for
            8.6.     services rendered or to be rendered in connection with publishing the Debtor's journal.                              Unknown




 9.         Total of Part 2.                                                                                                              $0.00
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                                 885.00   -                                0.00 = ....                $885.00
                                              face amount                          doubtful or uncollectible accounts



            11a. 90 days old or less:                                   0.00   -                                0.00 = ....               Unknown
                                              face amount                          doubtful or uncollectible accounts



            11a. 90 days old or less:                                 195.00   -                                0.00 = ....                $195.00
                                              face amount                          doubtful or uncollectible accounts



            11a. 90 days old or less:                                 745.00   -                                0.00 = ....                $745.00
                                              face amount                          doubtful or uncollectible accounts

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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 Debtor         American Pain Society                                                                 Case number (If known) 19-18467
                Name




           11a. 90 days old or less:                                    15.00    -                                    0.00 = ....                        $15.00
                                              face amount                               doubtful or uncollectible accounts




           11b. Over 90 days old:                                    28,000.00   -                                   0.00 =....                    $28,000.00
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                    $29,840.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No. Go to Part 5.
     Yes Fill in the information below.
                                                                                                               Valuation method used     Current value of
                                                                                                               for current value         debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:
                     Northwestern Mutual (account ending x7507)
                     Certain of these funds may be restricted or otherwise not
           14.1.     considered to be property of the estate.                                                  Market                             $979,219.50



 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership

 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                   $979,219.50
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last               Net book value of         Valuation method used     Current value of
                                                      physical inventory             debtor's interest         for current value         debtor's interest
                                                                                     (Where available)

 19.       Raw materials

 20.       Work in progress
           Publication of Journal of
           Pain providing information
           in the field of Pain
           Research and Treatment.                                                              Unknown        N/A                                    Unknown



 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 3
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                Name

           2,688 Soft Bound Booklets
           - Principles of Analgesic
           Use (7th Edition)                          3/21/19                            $20,451.73   Cost                           $20,451.73


           1,250 Soft Bound Booklets
           - Pain Control in the
           Primary Care Setting                       3/21/19                             $4,242.45   Cost                              $4,242.45


           11 Brass Medallion
           Awards (Frederick Kerr)                    3/21/19                             Unknown     N/A                               Unknown


           8 Brass Medallion Awards
           (William Fordyce)                          3/21/19                             Unknown     N/A                               Unknown


           Past publications of
           Journal of Pain. See
           attached rider to Schedule
           A/B(22).                                   6/29/19                             Unknown     N/A                               Unknown




 23.       Total of Part 5.                                                                                                       $24,694.18
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                          Valuation method                      Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 4
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54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Copyrights for American Pain Society Journal - 12
            issues published between 1992 and 1994.                                     Unknown      N/A                                     Unknown


            Copyrights for Pain Forum - 20 issues published
            between 1995 and 1999.                                                      Unknown      N/A                                     Unknown


            Copyrights for The Journal of Pain - more than
            200 issues published since 2000.                                            Unknown      N/A                                     Unknown



 61.        Internet domain names and websites
            americanpainsociety.org                                                     Unknown      N/A                                     Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Miscellaneous member information maintained by
            the Debtor.                                                                 Unknown      N/A                                     Unknown


            Miscellaneous customer information maintained
            by the Debtor.                                                              Unknown      N/A                                     Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill
            Potential goodwill value.                                                   Unknown      N/A                                     Unknown



 66.        Total of Part 10.                                                                                                                  $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 5
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 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)
            Debtor believes there was an overpayment to the IRS for
            estimated taxes and may therefore be entitled to a refund
            upon filing its 2018 tax returns.                                                  Tax year 2018                                Unknown



 73.        Interests in insurance policies or annuities
            Non-profit organization management liability policy with
            Landmark Insurance Company (Policy No. LDP681510).                                                                              Unknown


            Not-for-profit risk protector policy with National Union Fire
            Insurance Company of Pittsburgh, PA (Policy No.
            081568565).                                                                                                                     Unknown



 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                                 $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 6
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 Debtor          American Pain Society                                                                               Case number (If known) 19-18467
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $177,407.95

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $29,840.00

 83. Investments. Copy line 17, Part 4.                                                                           $979,219.50

 84. Inventory. Copy line 23, Part 5.                                                                               $24,694.18

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,211,161.63            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,211,161.63




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 7
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                        RIDER TO SCHEDULE A/B(22)
                      Inventory of Journal of Pain past issues
       Date    Volume    No.     Inventory Amount    Supplement Amount
2013
   Jan 2013      14       1              2
  Feb 2013       14       2              2
  Mar 2013       14        3             1
  Apr 2013       14        4             2           2
  May 2013       14       5              1
   Jun 2013      14       6              1
    Jul 2013     14        7             2
  Aug 2013       14        8             2
  Sep 2013       14       9              2
  Oct 2013       14       10             2
  Nov 2013       14       11             2
  Dec 2013       14       12             2           2
2014
   Jan 2014      15        1             2
  Feb 2014       15        2             2
  Mar 2014       15        3             2
  Apr 2014       15        4             2           2
  May 2014       15        5             2
   Jun 2014      15        6             2
    Jul 2014     15        7             2
  Aug 2014       15        8             2
  Sep 2014       15        9             2
  Oct 2014       15       10             2
  Nov 2014       15       11             2
  Dec 2014       15       12             2
2015
   Jan 2015      16       1              2
  Feb 2015       16       2              2
  Mar 2015       16        3             2
  Apr 2015       16        4             2
  May 2015       16       5              2
   Jun 2015      16       6              2
    Jul 2015     16        7             2
  Aug 2015       16        8             2
  Sep 2015       16       9              2
  Oct 2015       16       10             2
  Nov 2015       16       11             2
  Dec 2015       16       12             2
2016
   Jan 2016      17       1              1

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        Date   Volume    No.     Inventory Amount    Supplement Amount
  Feb 2016       17       2              2
  Mar 2016       17       3              2
  Apr 2016       17       4              0           2
  May 2014       17       5              2
   Jun 2016      17       6              2
    Jul 2016     17       7              2
  Aug 2016       17       8              2
  Sep 2016       17       9              2
  Oct 2016       17      10              1
  Nov 2016       17      11              1           2
  Dec 2016       17      12              2
2017
   Jan 2017      18       1             2
  Feb 2017       18       2             2
  Mar 2017       18        3             2
  Apr 2017       18        4            2            1
  May 2017       18       5             2
   Jun 2017      18       6             2
    Jul 2017     18        7             2
  Aug 2017       18        8            2
  Sep 2017       18       9             2
  Oct 2017       18       10            2
  Nov 2017       18       11            2
  Dec 2017       18       12            22
2018
   Jan 2018      19        1            20
  Feb 2018       19        2            20
  Mar 2018       19        3            20           33
  Apr 2018       19        4            20
  May 2018       19        5            20
   Jun 2018      19        6            20
    Jul 2018     19        7             5
  Aug 2018       19        8            20
  Sep 2018       19        9            15
  Oct 2018       19       10            13
  Nov 2018       19       11            22
  Dec 2018       19       12            19
2019
   Jan 2019      20       1             20
  Feb 2019       20       2              0
  Mar 2019       20       3             19
  Apr 2019       20       4             14           15
  May 2019       20       5             21
   Jun 2019      20       6              5


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               Case 19-18467                     Doc 11              Filed 07/11/19 Entered 07/11/19 10:39:56               Desc Main
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 Fill in this information to identify the case:

 Debtor name         American Pain Society

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)         19-18467
                                                                                                                            Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                     page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         American Pain Society

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)          19-18467
                                                                                                                                             Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $0.00      $0.00
           Department of the Treasury                                Check all that apply.
           Internal Revenue Service                                   Contingent
           P.O. Box 7346                                              Unliquidated
           Philadelphia, PA 19101-7346                                Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $0.00      $0.00
           Illinois Department of Revenue                            Check all that apply.
           Bankruptcy Unit                                            Contingent
           P.O. Box 19035                                             Unliquidated
           Springfield, IL 62794                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 12
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 Debtor       American Pain Society                                                                   Case number (if known)            19-18467
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $40.00
          Andy Tracy, BSN, MSN, PHD, RN                                       Contingent
          4902 Kings Way W                                                    Unliquidated
          Gurnee, IL 60031                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Product
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Association Management Center, Inc.                                 Contingent
          8735 W. Higgins Road, Suite 300                                     Unliquidated
          Chicago, IL 60631                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Management services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $750.00
          Bryan Copits
          Washington University                                               Contingent
          660 S. Euclid Ave.                                                  Unliquidated
          Campus Box 8054                                                     Disputed
          Saint Louis, MO 63112
                                                                             Basis for the claim:    Award recipient
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bureau County, IL
          Attn: Geno J. Caffarini                                             Contingent
          Bureau County State's Attorney                                      Unliquidated
          700 South Main Street, No. 6                                        Disputed
          Princeton, IL 61356
                                                                             Basis for the claim:    Case No. 2018-L-004540
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,000.00
          Cheryl Stucky
          Medical College of Wisconsin                                        Contingent
          Cell Biology/Neurobiology/Anatomy                                   Unliquidated
          8701 Watertown Plank Road                                           Disputed
          Milwaukee, WI 53226
                                                                             Basis for the claim:    Expense reimbursement
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Chicago Regional Council of Carpenters
          Attn: Ari J. Scharg                                                 Contingent
          Edelson PC                                                          Unliquidated
          350 N. LaSalle Street, 14th Floor                                   Disputed
          Chicago, IL 60654
                                                                             Basis for the claim:    Case No. 2019-CH-1548
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Chicago Regional Council of Carpenters
          Welfare Fund                                                        Contingent
          Attn: Ari J. Scharg, Edelson PC                                     Unliquidated
          350 N. LaSalle Street, 14th Floor                                   Disputed
          Chicago, IL 60654
                                                                             Basis for the claim:    Case No. 2019-CH-1548
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
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 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Cook County, Illinois
          Attn: Kimberly M. Foxx                                              Contingent
          Cook County State's Attorney                                        Unliquidated
          69 W. Washington                                                    Disputed
          Chicago, IL 60602
                                                                             Basis for the claim:    Case No. 2017-L-13180
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          County of Lake                                                      Contingent
          Attn: Joseph E. Kolar                                               Unliquidated
          600 Central Ave., Suite 325
          Highland Park, IL 60035                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Case No. 17-CH-1680
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Dekalb County, Illinois
          Attn: Rick Amato                                                    Contingent
          Dekalb County State's Attorney                                      Unliquidated
          133 West State Street                                               Disputed
          Sycamore, IL 60178
                                                                             Basis for the claim:    Case No. 2018-L-13655
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $40.00
          Dr. Derek Molliver, PhD
          University of New England                                           Contingent
          Dept. Biomedical Sciences                                           Unliquidated
          11 Hills Beach Rd                                                   Disputed
          Biddeford, ME 04005
                                                                             Basis for the claim:    Product
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Dr. Howard Cooper                                                   Contingent
          Lake County Coroner                                                 Unliquidated
          26 N. Martin L. King Jr. Avenue
          Waukegan, IL 60085-4351                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Case No. 17-CH-1680
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $40.00
          Dr. Ling Cao                                                        Contingent
          Biomedical Sciences                                                 Unliquidated
          11 Hills Beach Rd                                                   Disputed
          Biddeford, ME 04005
                                                                             Basis for the claim:    Product
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $40.00
          Dr. Raymond C. Tait, PhD                                            Contingent
          St Louis University                                                 Unliquidated
          1438 S Grand Blvd                                                   Disputed
          Saint Louis, MO 63104
                                                                             Basis for the claim:    Product
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Dupage County, Illinois
          Attn: Robert B. Berlin                                              Contingent
          Dupage County State's Attorney                                      Unliquidated
          503 North County Farm Road                                          Disputed
          Wheaton, IL 60187
                                                                             Basis for the claim:    Case No. 2018-L-4540
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $300,000.00
          Elsevier Inc.                                                       Contingent
          230 Park Avenue, Suite 800                                          Unliquidated
          New York, NY 10169                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Journal of Pain Publisher
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $40.00
          Han Tong                                                            Contingent
          310 Oak St Apt 510                                                  Unliquidated
          Cincinnati, OH 45219                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Product
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Henry County, Illinois
          Attn: Matthew Schutte                                               Contingent
          Henry County State's Attorney                                       Unliquidated
          307 West Center Street                                              Disputed
          Cambridge, IL 61238
                                                                             Basis for the claim:    Case No. 2018-L-12690
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $40.00
          Holly Cowley, PHARMD                                                Contingent
          3385 Fraserdale Dr                                                  Unliquidated
          Lexington, KY 40503                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Product
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Illinois Public Risk Fund                                           Contingent
          Attn: Joshua B. Rosenzweig, RA                                      Unliquidated
          1804 N. Naper Blvd, Suite 350
          Naperville, IL 60563                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Case No. 1:19-cv-3210
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Int'l Union of Op. Engineers, Local 150                             Contingent
          Attn: Dale David Pierson, RA                                        Unliquidated
          6140 Jolier Rd Local 150
          La Grange Park, IL 60526                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Case No. 1:17-md-02804
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Intergovernmenal Personnel Gov't Co-op
          Attn: Benjamin H. Richmond                                          Contingent
          Edelson PC                                                          Unliquidated
          350 North LaSalle Street, 14th Floor                                Disputed
          Chicago, IL 60654
                                                                             Basis for the claim:    Case No. 2018-L-12828
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Intergovernmental Risk Management Agency                            Contingent
          Four Westbrook Corporate Center                                     Unliquidated
          Suite 940
          Westchester, IL 60154                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Case No. 1:17-md-02804
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          JSJD Media, LLC
          dba Association Revenue Partners                                    Contingent
          attn: Mike Berthold, VP                                             Unliquidated
          500 N. Central Expressway, Suite 231                                Disputed
          Plano, TX 75074
                                                                             Basis for the claim:    Web-related advertisement services.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kane County, Illinois
          Attn: Joseph H. McMahon                                             Contingent
          Kane County State's Attorney                                        Unliquidated
          37 West 777 Route 38, Suite 300                                     Disputed
          Saint Charles, IL 60175
                                                                             Basis for the claim:    Case No. 2018-L-2943
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kendall County, Illinois
          Attn: Eric Weis                                                     Contingent
          Kendal County State's Attorney                                      Unliquidated
          807 West John Street                                                Disputed
          Yorkville, IL 60560
                                                                             Basis for the claim:    Case No. 2018-L-12741
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $40.00
          M Tatjana Ramos, MPH, PHARMD                                        Contingent
          3400 Lebanon Pike                                                   Unliquidated
          Murfreesboro, TN 37129                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Product
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Macoupin County, Illinois
          Attn: Jennifer A. Watson                                            Contingent
          Macoupin County State's Attorney                                    Unliquidated
          201 East Main Street                                                Disputed
          Carlinville, IL 62626
                                                                             Basis for the claim:    Case No. 2018-L-13247
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mark C. Curran, Jr.                                                 Contingent
          Lake County Sheriff                                                 Unliquidated
          25 S. Martin Luther King Jr. Avenue
          Waukegan, IL 60085                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Case No. 17-CH-1680
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mark P Jensen, PHD
          Dep't of Rehabilitation Medicine                                    Contingent
          Box 359612                                                          Unliquidated
          325 Ninth Ave.                                                      Disputed
          Seattle, WA 98104
                                                                             Basis for the claim:    Independent Contractor for editorial services.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          McHenry County, Illinois
          Attn: Patrick D. Kenneally                                          Contingent
          McHenry County State's Attorney                                     Unliquidated
          2200 N. Seminary Ave.                                               Disputed
          Woodstock, IL 60098
                                                                             Basis for the claim:    Case No. 2018-L-2948
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $85.00
          Michael Johnson, PHD                                                Contingent
          Lilly Corporate Center                                              Unliquidated
          DC0510                                                              Disputed
          Indianapolis, IN 46285
                                                                             Basis for the claim:    Product
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michael Nerheim
          Lake County State's Attorney                                        Contingent
          18 North County Street                                              Unliquidated
          3rd Floor                                                           Disputed
          Waukegan, IL 60085
                                                                             Basis for the claim:    Case No. 17-CH-1680
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Midwest Operating Engineers Health and
          Welfare Fund                                                        Contingent
          Attn: Ari J. Scharg, Edelson PC                                     Unliquidated
          350 N. LaSalle Street, 14th Floor                                   Disputed
          Chicago, IL 60654
                                                                             Basis for the claim:    Case No. 2019-CH-1548
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,059.29
          Painless Research Foundation                                        Contingent
          106 Ridgewood Ave.                                                  Unliquidated
          San Francisco, CA 94112                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Refund of unused sponsorship funds
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $223,983.00
          Pfizer, Inc.                                                        Contingent
          235 East 42nd Street                                                Unliquidated
          New York, NY 10005                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Grants Management
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Piatt County, Illinois
          Dana C. Rhoades- Piatt Cou. State's Atty                            Contingent
          Piatt County Courthouse, Room 214                                   Unliquidated
          101 West Washington Street                                          Disputed
          Monticello, IL 61856
                                                                             Basis for the claim:    Case No. 2018-L-12689
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          R.D. Burns                                                          Contingent
          PO Box 7855                                                         Unliquidated
          Huntington Beach, CA 92615
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Case No. 30-2018-00982349-CU-PP-CXC
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          St. Clair County, Illinois
          Attn: David Cates                                                   Contingent
          Cates Mahoney, LLC                                                  Unliquidated
          216 West Pointe Drive, Suite A                                      Disputed
          Swansea, IL 62226
                                                                             Basis for the claim:    Case No. 1:17-md-02804
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          The City of Burbank
          Attn: Allen Schwartz                                                Contingent
          Kralovec, Jambois & Schwartz                                        Unliquidated
          60 W Randolph, 4th Floor                                            Disputed
          Chicago, IL 60601
                                                                             Basis for the claim:    Case No. 2018-L-12659
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          The City of Countryside
          Attn: Allen Schwartz                                                Contingent
          Kralovec, Jambois & Schwartz                                        Unliquidated
          60 W Randolph, 4th Floor                                            Disputed
          Chicago, IL 60601
                                                                             Basis for the claim:    Case No. 2018-L-12640
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $73,159.90
          The Mayday Fund                                                     Contingent
          Christina Spellman, Executive Director                              Unliquidated
          127 West 26th Street, Suite 800                                     Disputed
          New York, NY 10001
                                                                             Basis for the claim:    Grants Management
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No     Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          The People of the State of Illinois
          Attn: Peter J. Flowers                                              Contingent
          Meyers & Flowers, LLC                                               Unliquidated
          3 N 2nd Street, Suite 300                                           Disputed
          Saint Charles, IL 60174
                                                                             Basis for the claim:    Various Litigation
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          The Township of Lyons
          Attn: Allen Schwarz                                                 Contingent
          Kralovec, Jambois & Schwartz                                        Unliquidated
          60 W Randolph, 4th Floor                                            Disputed
          Chicago, IL 60601
                                                                             Basis for the claim:    Case No. 2018-L-9321
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          The Village of Evergreen Park
          Attn: Allen Schwartz                                                Contingent
          Kralovec, Jambois & Schwartz                                        Unliquidated
          60 W Randolph, 4th Floor                                            Disputed
          Chicago, IL 60601
                                                                             Basis for the claim:    Case No. 2018-L-12652
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Village of Bedford Park
          Attn: Alan N. Schwartz                                              Contingent
          Kralovec, Jambois & Schwartz                                        Unliquidated
          60 W. Randloph St., 4th Floor                                       Disputed
          Chicago, IL 60601
                                                                             Basis for the claim:    Case No. 2018-L-8819
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Village of Bridgeview
          Attn: Allen Schwarz                                                 Contingent
          Kralovec, Jambois & Schwartz                                        Unliquidated
          60 W Randolph, 4th Floor                                            Disputed
          Chicago, IL 60601
                                                                             Basis for the claim:    Case No. 2018-L-9526
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Village of Hodgkins
          Attn: Allen Schwartz                                                Contingent
          Kralovec, Jambois & Schwartz                                        Unliquidated
          60 W Randolph, 4th Floor                                            Disputed
          Chicago, IL 60601
                                                                             Basis for the claim:    Case No. 2018-L-9848
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Village of Lyons
          Attn: Allen Schwartz                                                Contingent
          Kralovec, Jambois & Schwartz                                        Unliquidated
          60 W Randolph, 4th Floor                                            Disputed
          Chicago, IL 60601
                                                                             Basis for the claim:    Case No. 18-L-8746
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Village of Summit
          Attn: Alan N. Schwartz                                              Contingent
          Kralovec, Jambois & Schwartz                                        Unliquidated
          60 W. Randloph St., 4th Floor                                       Disputed
          Chicago, IL 60601
                                                                             Basis for the claim:    Case No. 2018-L-8803
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $40.00
          Virginie Aubert, PHD                                                Contingent
          2000 N Howe St                                                      Unliquidated
          Chicago, IL 60614                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Product
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Will County, Illinois
          Attn: James W. Glasgow                                              Contingent
          Will County State's Attorney                                        Unliquidated
          57 North Ottawa Street                                              Disputed
          Joliet, IL 60432
                                                                             Basis for the claim:    Case No. 2018-L-4546
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 9 of 12
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 Debtor       American Pain Society                                                                   Case number (if known)            19-18467
              Name

 3.53      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $0.00
           Williamson County, Illinois
           Attn: Brandon J. Zanotti                                           Contingent
           Williamson County State's Attorney                                 Unliquidated
           200 W. Jefferson St.                                               Disputed
           Marion, IL 62959
                                                                             Basis for the claim:    Case No. 2019-L-73
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.54      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $40.00
           Yehui Zhu                                                          Contingent
           School of Nursing                                                  Unliquidated
           3500 Victoria St                                                   Disputed
           Pittsburgh, PA 15261
                                                                             Basis for the claim:    Product
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       Association Management Center, Inc.
           Attn: Scott Engle, RA                                                                      Line     3.2
           8735 W Higgins Road, Suite 300
           Chicago, IL 60631                                                                                Not listed. Explain


 4.2       Dr. Howard Cooper
           c/o Joseph E. Kolar                                                                        Line     3.12
           600 Central Ave., Suite 325
           Highland Park, IL 60035                                                                          Not listed. Explain


 4.3       Elsevier Inc.
           Attn: CT Corporation System, RA                                                            Line     3.16
           28 Liberty Street
           New York, NY 10005                                                                               Not listed. Explain


 4.4       Illinois Public Risk Fund
           Attn: Ari J. Scharg                                                                        Line     3.20
           Edelson PC
           350 N. LaSalle Street, 14th Floor                                                                Not listed. Explain
           Chicago, IL 60654

 4.5       Int'l Union of Op. Engineers, Local 150
           Attn: Ari J. Scharg                                                                        Line     3.21
           Edelson PC
           350 N. LaSalle Street, 14th Floor                                                                Not listed. Explain

           Chicago, IL 60654

 4.6       Intergovernmental Risk Management Agency
           Attn: Benjamin H. Richmond                                                                 Line     3.23
           Edelson PC
           350 North LaSalle Street, 14th Floor                                                             Not listed. Explain

           Chicago, IL 60654




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 10 of 12
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              Name

          Name and mailing address                                                               On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                 related creditor (if any) listed?            account number, if
                                                                                                                                              any
 4.7      Intergovernmental Risk Management Agency
          Attn: Rafey S. Balabanian                                                              Line   3.23
          Edelson PC
          123 Townsend Street, Suite 100                                                               Not listed. Explain
          San Francisco, CA 94107

 4.8      JSJD Media, LLC
          Attn: U.S. Corporation Agents, Inc. - RA                                               Line   3.24
          9900 Spectrum Dr.
          Austin, TX 78717                                                                             Not listed. Explain


 4.9      Mark C. Curran, Jr.
          Attn: Joseph E. Kolar                                                                  Line   3.29
          600 Central Ave., Suite 325
          Highland Park, IL 60035                                                                      Not listed. Explain


 4.10     Pfizer, Inc.
          Attn: C T Corporation System, RA                                                       Line   3.36
          28 Liberty Street
          New York, NY 10005                                                                           Not listed. Explain


 4.11     St. Clair County, Illinois
          Attn: Eric D. Holland                                                                  Line   3.39
          Holland Law Firm
          300 North Tucker Street, Suite 801                                                           Not listed. Explain

          Saint Louis, MO 63101

 4.12     St. Clair County, Illinois
          Attn: Ann Callis                                                                       Line   3.39
          Goldenberg, Heller & Antognoli P.C.
          2227 S. State Route 157                                                                      Not listed. Explain

          Edwardsville, IL 62025

 4.13     St. Clair County, Illinois
          Attn: Christopher Cueto                                                                Line   3.39
          Law Office of Christopher Sueto, Ltd.
          7110 West Main Street                                                                        Not listed. Explain
          Belleville, IL 62223

 4.14     The People of the State of Illinois
          Attn: Paul J. Hanley, Jr.                                                              Line   3.43
          Simmons Hanley Conroy, LLC
          112 Madison Ave.                                                                             Not listed. Explain
          New York, NY 10016

 4.15     Village of Bedford Park
          Attn: Kasif Khowaja                                                                    Line   3.46
          The Khowaja Law Firm, LLC
          70 East Lake Street, Suite 1220                                                              Not listed. Explain
          Chicago, IL 60601

 4.16     Village of Summit
          Attn: Kasif Khowaja                                                                    Line   3.50
          The Khowaja Law Firm, LLC
          70 East Lake Street, Suite 1220                                                              Not listed. Explain
          Chicago, IL 60601

 4.17     Williamson County, Illinois
          c/o Mark D. Prince                                                                     Line   3.53
          Prince Law Firm
          P.O. Box 1050                                                                                Not listed. Explain

          Jacob, IL 62950

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 11 of 12
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              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                 related creditor (if any) listed?            account number, if
                                                                                                                                              any


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                          0.00
 5b. Total claims from Part 2                                                                       5b.   +   $                    604,397.19

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                       604,397.19




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 Fill in this information to identify the case:

 Debtor name         American Pain Society

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)         19-18467
                                                                                                                                Check if this is an
                                                                                                                                    amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal              Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.         State what the contract or                  Management and
              lease is for and the nature of              Administrative Services
              the debtor's interest                       Agreement

                  State the term remaining
                                                                                        Association Management Center, Inc.
              List the contract number of any                                           8735 W. Higgins Road, Suite 300
                    government contract                                                 Chicago, IL 60631


 2.2.         State what the contract or                  Journal Publishing
              lease is for and the nature of              Agreement
              the debtor's interest

                  State the term remaining
                                                                                        Elsevier Inc.
              List the contract number of any                                           230 Park Avenue, Suite 800
                    government contract                                                 New York, NY 10169


 2.3.         State what the contract or                  Grant Agreement dated
              lease is for and the nature of              11/8/18
              the debtor's interest

                  State the term remaining
                                                                                        Ian Boggero,PhD
              List the contract number of any                                           356 Masterson Station Dr.
                    government contract                                                 Lexington, KY 40511


 2.4.         State what the contract or                  Royalty Agreement
              lease is for and the nature of              Contract (May 2018)
              the debtor's interest
                                                                                        JSJD Media, LLC
                  State the term remaining                                              dba Association Revenue Partners
                                                                                        Attn: James DeBois - President
              List the contract number of any                                           1721 W. Plano Pkwy, #E122
                    government contract                                                 Plano, TX 75075




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 3
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 Debtor 1 American Pain Society                                                                Case number (if known)   19-18467
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   Grant Agreement dated
             lease is for and the nature of               11/8/18
             the debtor's interest
                                                                                       Keesha Roach, PhD RN
                  State the term remaining                                             University of Florida
                                                                                       2004 Mowry Road
             List the contract number of any                                           3114-C1
                   government contract                                                 Gainesville, FL 32610


 2.6.        State what the contract or                   Independent Contractor
             lease is for and the nature of               Agreement dated June
             the debtor's interest                        15, 2010
                                                                                       Mark Jensen
                  State the term remaining                                             Box 359612
                                                                                       Harborview Medical Center
             List the contract number of any                                           325 Ninth Avenue
                   government contract                                                 Seattle, WA 98104


 2.7.        State what the contract or                   Grant Agreement dated
             lease is for and the nature of               11/30/18
             the debtor's interest
                                                                                       Stanford University School of Medicine
                  State the term remaining                                             Attn: Mariela Abbott
                                                                                       Research Management Group
             List the contract number of any                                           3172 Porter Drive
                   government contract                                                 Palo Alto, CA 94304


 2.8.        State what the contract or                   Grant Agreement dated
             lease is for and the nature of               11/28/18
             the debtor's interest
                                                                                       The Regents of the Univ. of Michigan
                  State the term remaining                                             Attn: Julie Olivero
                                                                                       3003 S. State Street
             List the contract number of any                                           First Floor
                   government contract                                                 Ann Arbor, MI 48109-1274


 2.9.        State what the contract or                   Grant Agreement dated
             lease is for and the nature of               11/28/18
             the debtor's interest
                                                                                       The Washington University
                  State the term remaining                                             Attn: Teri Medley
                                                                                       Campus Box 1054
             List the contract number of any                                           One Brookings Drive
                   government contract                                                 Saint Louis, MO 63130


 2.10.       State what the contract or                   Grant Agreement dated
             lease is for and the nature of               11/8/18
             the debtor's interest

                  State the term remaining                                             Valerie Hruschak, PhD
                                                                                       4979 Sciota Street
             List the contract number of any                                           Pittsburgh, PA 15224
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 3
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 Debtor 1 American Pain Society                                                               Case number (if known)   19-18467
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract




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 Fill in this information to identify the case:

 Debtor name         American Pain Society

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)         19-18467
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                        Name                      Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                       State      Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                       State      Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                       State      Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                       State      Zip Code




Official Form 206H                                                                Schedule H: Your Codebtors                                 Page 1 of 1
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